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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-FORMING                        MDL No. 2:18-mn-2873-RMG
      FOAMS PRODUCTS LIABILITY
      LITIGATION                                           This Document relates to
                                                    City of Camden, et al. v. E.I. DuPont de
                                                   Nemours & Co. (n/k/a/ EIDP, Inc.), et al.,
                                                              2:23-cv-3230-RMG


       Before the Court is the states of California, Colorado, Hawaii, Maine, Maryland,

Massachusetts, Minnesota, New Jersey, New Mexico, New Hampshire, New York, North

Carolina, Oregon, Rhode Island, Tennessee, Texas, Vermont, and Wisconsin as well as the District

of Columbia and Puerto Rico (“States”)’s motion to extend their time to respond to certain

Plaintiffs’ motion for preliminary approval of the class action settlement between public water

systems and the DuPont Entities, from July 24, 2023 to August 7, 2023. (Dkt. No. 3427). For good

cause shown, the States’ motion is GRANTED IN PART and the States’ objections, if any, must

be filed on or before July 31, 2023.

       AND IT IS SO ORDERED.

                                                           s/Richard Mark Gergel
                                                           Richard Mark Gergel
July 21, 2023                                              United States District Judge
Charleston, South Carolina
